Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 1 of 19 PageID 1




                                                 18-CV-3047
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 2 of 19 PageID 2
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 3 of 19 PageID 3
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 4 of 19 PageID 4
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 5 of 19 PageID 5
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 6 of 19 PageID 6
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 7 of 19 PageID 7
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 8 of 19 PageID 8
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 9 of 19 PageID 9
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 10 of 19 PageID 10
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 11 of 19 PageID 11




              supra
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 12 of 19 PageID 12
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 13 of 19 PageID 13
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 14 of 19 PageID 14
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 15 of 19 PageID 15
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 16 of 19 PageID 16
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 17 of 19 PageID 17
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 18 of 19 PageID 18
Case 3:20-cv-01452-X Document 1 Filed 07/31/18   Page 19 of 19 PageID 19




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